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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    APARTMENT ASSOCIATION OF        )    Case No. CV 20-5193-DDP-JEM
      LOS ANGELES COUNTY, INC.,       )
12                                    )    ORDER SETTING SCHEDULING
                                      )    CONFERENCE
13                    Plaintiff,      )
                                      )    Scheduling Conference as follows:
14         v.                         )
                                      )          Day:       Monday
15    CITY OF LOS ANGELES ET AL,      )          Date:      September 14, 2020
                                      )          Time:      1:30 p.m.
16                                    )
                                      )
17                                    )
                      Defendants.     )
18                                    )
                                      )
19                                    )
                                      )
20                                    )
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21                                    )
22
           This matter is set for a scheduling conference in
23
      Courtroom 9C, before the Honorable Dean D. Pregerson, located at
24
      350 West 1st Street, Los Angeles, California 90012.         The conference
25
      will be held pursuant to Federal Rules of Civil Procedure 16(b).
26
      Lead trial counsel shall attend the scheduling conference.
27
           The parties are reminded of their obligations to disclose
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  1   information and confer on a discovery plan not later than twenty-
  2   one (21) days prior to the scheduling conference and file a report
  3   with the Court entitled "Rule 26(f) Report", not later than
  4   fourteen (14) days after they confer as required by Federal Rule of
  5   Civil Procedure 26 and the Local Rules of this Court.          Failure to
  6   comply may lead to the imposition of sanctions.
  7
  8        IT IS SO ORDERED.
  9
10    Dated: August 12, 2020
11
                                        DEAN D. PREGERSON
12                                      United States District Judge
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